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                        Exhibit C
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                                            United States Attorney
                                            Northern District of California



                                              11th Floor, Federal Building              (415)436-7200
                                              450 Golden Gate Ave., Box 36055
                                              San Francisco, CA 94102-3495         FAX: (415)436-7234




                                           August 1, 2022

By E-mail to Defense Counsel

Michael Shepard
Amy Hitchcock
Luke Roniger
King & Spaulding
50 California Street
Suite 3300
San Francisco, CA 94111


                Re:   United States v. Rowland Marcus Andrade
                      No. 20-CR-00249 RS

Dear Counsel:

       I write in response to your May 10, 2022 letter. We have researched each of your
discovery requests. I respond to each of your numbered requests below:

       Brady Requests

   1. The FBI had no independent communications with Abbe Lowell. Any communications
      between Mr. Lowell and members of the U.S. Attorney’s Office will be produced in
      advance of trial to the extent they are discoverable under Brady or another relevant rule
      or statute.
   2. The government is unaware at this point of any privilege log ever created by the FBI
      relating to items from Jack Abramoff’s phone.
   3. The government has already turned over all reports related to UCEs, including those who
      monitored accounts on telegram and Chainbook. Those UCE reports can be found at
      FBI-UC-000001-104. The government is unaware of any other reports related to UCEs.
      To the extent defense counsel’s request includes the identity of any UCEs, that
      information is not discoverable.
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   4. All communications and screenshots that the government is aware of and which are
      responsive to this request have been produced, including but not limited to the production
      at FBI-UC-000038-43.
   5. Other than what has already been produced, the government is not aware at this time of
      any documents regarding agreements with Comply Advantage or Global Visions
      Solutions. The government did not subpoena any records directly from either entity.
   6. The government is not aware at this time of any transaction monitoring data that was
      taken from Comply Advantage.

Other Discovery Requests

   1. The government searched and is not aware of any audio/video recordings of an interview
      with Warren Cully.
   2. The government searched and is not aware of any audio/video recordings of an interview
      with Mark DiAdamo.
   3. The FBI is not aware that it has any recordings of communications between Mr. Andrade
      and his attorneys in its possession.
   4. The “recordings” mentioned in this request are, in fact, pen register data and not
      recordings. The government has produced that data. Please let us know if you cannot
      access it.
   5. The government is aware of the following search warrants that are responsive to your
      request:

 Date SW
 signed by
   judge   Subject         Search Location                             Bates Range
           Jack            812 Edelblut Dr., Silversprings,
 9/28/2018 Abramoff        MD                                      USAO-0000074-162
           Marcus          7495 W. Azure Dr. STE 110, Las
 9/13/2018 Andrade         Vegas, NV                                 Not yet produced
           Japheth
 9/19/2018 Dillman         3563 Pierce St. San Francisco, CA       FBI-MAIN-0000840
 5/12/2019 John Bryan      jbryan@watley.com                        FBI-302-005128
           Marcus
 7/31/2019 Andrade         CEO@AMLBITCOIN.COM                       USAO-0000047-73
           Marcus          9414 Plaza Point Dr. Missouri
 3/10/2020 Andrade         City, Texas                              FBI-00029572-625
           Marcus          7324 Southwest Freeway, Suite
 3/12/2020 Andrade         600 Houston, Texas                       FBI-00029513-571

      The search warrant for the W. Azure Drive address is in the physical file, and will be
produced shortly.
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6. All communications and screenshots that the government is aware of and which are
    responsive to this request have been produced, including but not limited to the production
    at FBI-UC-000038-43.
7. The government did not seize and download Mr. De La Guardia’s phone as part of this
    investigation, so it does not have text messages from his phone. To the extent there were
    messages on Mr. Andrade’s phone with Mr. De La Guardia, those messages have been
    produced along with the rest of the contents of Mr. Andrade’s phone.
8. The government understands that Mr. Andrade offered to upload materials to FBI SA
    Quinn but never did so. The government checked with the vendor of the cloud-based site
    and confirmed that no upload ever occurred. This conversation is reflected in an FBI 302
    produced at FBI-302-005032.
9. The government does not produce the form letters sent to victims. To the extent the
    government has received any responses, including from the individuals named in this
    request, it will produce them at an appropriate time before trial pursuant to its Jencks
    obligations or other discovery rules.
10. All documents that the government is currently aware of relating to any undercover
    operation involving Mr. Andrade have already been produced.


   Please contact me if you have any questions concerning the foregoing.


                                                        Very truly yours,

                                                        STEPHANIE M. HINDS
                                                        United States Attorney


                                                               /s/
                                                        ANDREW F. DAWSON
                                                        ROSS WEINGARTEN
                                                        Assistant United States Attorneys
